Case: 24-1092    Document: 00118116363           Page: 1       Date Filed: 03/05/2024     Entry ID: 6626967




                     United States Court of Appeals
                                     For the First Circuit
                                           _____________________

      No. 24-1092

           UNITED STATES; COMMONWEALTH OF MASSACHUSETTS; DISTRICT OF
         COLUMBIA; STATE OF NEW YORK; STATE OF CALIFORNIA; STATE OF NORTH
                CAROLINA; STATE OF MARYLAND; STATE OF NEW JERSEY,

                                            Plaintiffs - Appellees,

                                                      v.

                    JETBLUE AIRWAYS CORPORATION; SPIRIT AIRLINES, INC.,

                                           Defendants - Appellants.
                                            __________________

                                                JUDGMENT

                                          Entered: March 5, 2024
                                       Pursuant to 1st Cir. R. 27.0(d)

             Upon consideration of stipulation, it is hereby ordered that this appeal be voluntarily
      dismissed pursuant to Fed. R. App. P. 42(b)(1) with each party to bear its own costs.

             Mandate to issue forthwith.

                                                           By the Court:

                                                           Maria R. Hamilton, Clerk


      cc:
      Donald Campbell Lockhart, Edward William Duffy, Nickolai Levin, Daniel Edward Haar, Alice
      A. Wang, Michelle Livingston, Andrew N. DeLaney, William T. Matlack, Robert B. McNary, C.
      William Margrabe, Jeremy Girton, Caroline S. Van Zile, Olga Kogan, Jamie L. Miller, Jessica
      Vance Sutton, Schonette Walker, Ana Atta-Alla, Zachary R. Hafer, Ryan A. Shores, Zachary
      Sisko, Brian Hauser, Jessica K. Delbaum, Deepti Bansal, Elizabeth M. Wright, Matt Nguyen,
      David I. Gelfand, Joseph M. Kay, Daniel P. Culley, Kannon K. Shanmugam, John C. Calhoun,
      Samuel Newland Rudman, Meredith Richardson Dearborn, Andrew C. Finch, Jay Cohen, Joseph
      Peter Rockers, James P. Denvir III, Benjamin P. Solomon-Schwartz, Kaitlin Mary Thompson,
      Andrew T. O'Connor, John Francis White III, Christina S. Marshall, Glenn A. MacKinlay, Dean
      Austin Elwell, Marguerite M. Sullivan, David C. Tolley, Lisa C. Wood, Jennifer L. Giordano, Tara
      S. Morrissey, Tyler S. Badgley, Eli Nachmany, Lauren Willard Zehmer
